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UNITED STATES DISTRICT COURT » || ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #: ;
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UNITED STATES OF AMERICA, = LED:_@ 2 2029!
-against- $5 22-cr-0673 (LAK)
SAMUEL BANKMAN-FRIED,
Defendant.
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ORDER
LEwIs A. KAPLAN, District Judge.
1. The government has requested a specialty waiver from The Bahamas with

respect to the prosecution of the defendant on charges first interposed after the date of defendant’s
extradition, specifically Counts Four, Six, Nine, Ten and Thirteen of the Fifth Superseding
Indictment. In view of the uncertainty of when The Bahamas will render a decision on that request,
the government has requested that those counts be severed and scheduled for separate trial from the
trial of the pre-extradition charges. Accordingly, Counts Four, Six, Nine, Ten and Thirteen of the
Fifth Superseding Indictment are severed and scheduled for trial, unless otherwise ordered,
commencing on March 11, 2024.

2. For reasons, and subject to the qualifications, stated on the record in open
court, defendant’s Pretrial Motion Nos. 5 and 6 (set forth in Dkt 136) are denied.

3, Pretrial Motion No. 7 is denied as premature.

SO ORDERED.

Dated: June 15, 2023 [ At

Lewis/A. Raflan
United States District Judge

